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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF MISSOURI
                     SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,                   )
ex rel. ERIC S. SCHMITT, in his official )
capacity as Missouri Attorney General, )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )       Case No. _____________
                                         )
THE PEOPLE’S REPUBLIC OF CHINA, )
THE COMMUNIST PARTY OF CHINA, )
NATIONAL HEALTH COMMISSION               )
OF THE PEOPLE’S REPUBLIC OF              )
CHINA, MINISTRY OF EMERGENCY )
MANAGEMENT OF THE PEOPLE’S               )
REPUBLIC OF CHINA, MINISTRY OF )
CIVIL AFFAIRS OF THE PEOPLE’S            )
REPUBLIC OF CHINA, PEOPLE’S              )
GOVERNMENT OF HUBEI                      )
PROVINCE, PEOPLE’S GOVERNMENT )
OF WUHAN CITY, WUHAN INSTITUTE)
OF VIROLOGY, and CHINESE                 )
ACADEMY OF SCIENCES,                     )
                                         )
       Defendants.                       )


     NOTICE TO THE COURT REGARDING SERVICE OF PROCESS

      Local Rule 2.02(B) requires, at the time of filing, completion of a Notice

of Process Server form or proposed waivers of service for each defendant under

Federal Rule of Civil Procedure 4. However, because this case involves suit

against a foreign state or its political subdivisions, as well as other foreign

entities, Federal Rule of Civil Procedure 4 requires service as specified in 28
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U.S.C. § 1608. Accordingly, that is how Plaintiff intends to serve Defendants,

and the Notice of Process Server form is inapplicable in this case.


                                    Respectfully submitted,

                                    ERIC S. SCHMITT
                                    ATTORNEY GENERAL

                                    /s/ Justin D. Smith
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